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16

17                                 UNITED STATES DISTRICT COURT

18                                NORTHERN DISTRICT OF CALIFORNIA
19
     OWEN DIAZ,                                       Case No. 3:17-cv-06748-WHO
20
                     Plaintiff,
21                                                    [PROPOSED] ORDER GRANTING
            v.                                        PLAINTIFF’S MOTION FOR
22
                                                      ATTORNEYS’ FEES AND EXPENSES
     TESLA, INC. dba TESLA MOTORS, INC.,
23

24          Defendant.                                Hearing Date: January 10, 2024
                                                      Time: 2:00 PM
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26                                                    Trial Date: September 27, 2020
                                                      Complaint filed: October 16, 2017
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 1           Before the Court is Plaintiff’s Motion for Attorneys’ Fees and Expenses. The Court has
 2   considered the motion, the papers filed in support of and opposition thereto, and oral argument
 3   by the parties. The Court concludes the motion should be GRANTED pursuant to 42 U.S.C. §
 4   1988.
 5           The Court hereby awards Plaintiff attorneys’ fees in the amount of $10,413,774.25 and
 6   reasonable litigation expenses in the amount of $187,145.24.
 7           IT IS SO ORDERED
 8

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     Dated: _________________                     ________________________ ______________
10                                                        Hon. William H. Orrick III
                                                          United States District Court Judge
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                                                                            Case No. 3:17-cv-06748-WHO
